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                                   STATEMENT OF FACTS

       Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) assigned to
the Atlanta, GA field office. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal laws

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of



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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On or about January 24, 2021, the FBI received an anonymous tip from an individual
(“Witness-1”), identifying Bunky CRAWFORD, who Witness-1 knew personally as someone
involved in the January 6, 2021 protest. Witness-1 stated that CRAWFORD was a “friend” on
Facebook and Witness-1 saw photographs of CRAWFORD at the Capitol during the riot on
January 6. Witness-1 also met with CRAWFORD in person and CRAWFORD showed Witness-1
the same photos/videos. Witness-1 stated that CRAWFORD lived in Douglas County Georgia.

        On or about February 4, 2021, the FBI received a tip from an individual (“Witness-2”),
identifying PHILLIP MARION CRAWFORD, who Witness-2 knew personally as an individual
who participated in the riot on January 6. Witness-2 saw CRAWFORD on several news stations
during the riot and afterwards, CRAWFORD even told Witness-2 that he participated in the riot.

       On or about March 4, 2021, FBI Atlanta conducted an interview with CRAWFORD during
which CRAWFORD admitted to participating in the protest at the US Capitol on January 6, 2021.
However, CRAWFORD explained that he did not enter the Capitol or participate in any acts of
violence or destruction of property.

        On or about July 9, 2021, FBI Atlanta conducted an interview with Witness-2, who said
that CRAWFORD admitted to Witness-2 that he participated in the protest at the US Capitol on
January 6, but he did not enter the Capitol or participate in any acts of violence or destruction of
property. CRAWFORD showed Witness-2 a picture of CRAWFORD standing in front of the
Capitol. Witness-2 was not able to provide the picture, but stated the picture depicted
CRAWFORD dressed in a mask, blue hooded sweatshirt, and jeans. Witness-2 indicated that
he/she did not have any evidence or knowledge that CRAWFORD assaulted an officer or
participated in any acts of violence.

        On or about July 3, 2022, the FBI received a tip from an individual (“Witness-3”), that
identified the subject within Capitol Riot Photo 483-AFO A and 483-AFO B as “Bunky
Crawford”. Witness-3 further reported that, CRAWFORD showed him/her cellphone footage of
CRAWFORD at the riot.




             Photograph #483 – AFO A                           Photograph #483 – AFO B

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       On or about January 10, 2023, Sergeant S.B., with the Douglas County Sheriff’s
Department in Georgia, was identified by agents as having dealt with PHILLIP CRAWFORD
through a police report dated November 20, 2022. S.B. was contacted via phone and asked if he
would be willing to receive some photographs through email to see if he could identify the
individual depicted in them. S.B. was given no other background information or context. Later that
same day, S.B. responded and identified the individual in the photos of AFO-483 as PHILLIP
CRAWFORD.

        On or about January 12, 2023, Witness-3 was interviewed and identified “Bunky” in
photos and videos from January 6, 2021. Witness-3 stated that in February or March 2021, Bunky
showed him/her a video on his phone of security footage from the tunnel and Bunky pointed to
himself (CRAWFORD) in the video and said “see how I pushed him to the ground” referring to
one of the police officers.

        I have observed publicly available video of Crawford, wearing the same gray sweatshirt
with the same blue t-shirt over the sweatshirt that said “stop the steal”, taken from the area of the
tunnel during the Capitol Riots. In this video, Crawford can be heard yelling, “Hey! We’re going
to charge in that motherfucker! Ok?! Are ya’ll pussies or what?! Look at them, 1, 2, 3, 4. You ain’t
got shit on us. We’re all of us, come on!” Following this impromptu speech, Crawford pushed his
way to the Lower West Terrace Entrance archway.




               Open-source Video depicting speech before Crawford made his way
                         to the Lower West Terrace Entrance Archway


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       Further open-source video depicts CRAWFORD as he approaches the Lower West Terrace
Entrance joining other rioters chanting: “Pull them out!”




                   Open-source Video depicting chants of “Pull them out!”


        I have also reviewed body-worn camera footage from the law enforcement officers inside
the archway of the Lower West Terrace Entrance, which show Crawford’s attack on the officers.
Screenshots from some of the videos is shown below.

         CRAWFORD pushed through the crowd in front of the archway until he reached the line
of officers. Once at the front, CRAWFORD indiscriminately began swinging his hands with closed
fists at the fully-uniformed police officers guarding the entrance. CRAWFORD can be observed
keeping his head down to avoid the OC spray as he attempts to grab officers on the line.



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             Body-worn Camera footage depicting CRAWFORD lunge at officers


       CRAWFORD continued grabbing and hitting officers, and attempted to pull an officer with
the United States Capitol Police into the crowd.




              Body-worn Camera footage depicting CRAWFORD pull at officer



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    Eventually, officers are able to beat back the violent push from rioters; however,
CRAWFORD picked up a fallen gas mask and threw it—metal first—into the line of officers.




             Closed Circuit Television View of CRAWFORD throwing a gas mask


        Based on the foregoing, your affiant submits there is probable cause to believe that
PHILLIP MARION CRAWFORD violated 18 U.S.C. § 111(a) and (b), which makes it unlawful
to forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated in
section 1114 of this title while engaged in or on account of the performance of official duties and
who, in the commission of any acts described, uses a deadly or dangerous weapon or inflicts bodily
injury. For purposes of section 111 of Title 18, United States Capitol Police Officers constitute
persons designated in section 1114 of Title 18.

        Additionally, your affiant submits there is probable cause to believe that PHILLIP
MARION CRAWFORD violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or
attempt to commit any act to obstruct, impede, or interfere with any fireman or law enforcement
officer lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.



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        In addition, your affiant submits that there is probable cause to believe that PHILLIP
MARION CRAWFORD violated 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; and (4) knowingly
engages in any act of physical violence against any person or property in any restricted building
or grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.

       Finally, your affiant submits there is also probable cause to believe that PHILLIP
MARION CRAWFORD violated 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully
and knowingly engage in an act of physical violence in the Grounds or any of the Capitol buildings.


                                                      _________________________________
                                                      Special Agent Justin King
                                                      FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of July 2023.
                                                                          Zia M. Faruqui
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                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE




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